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                             UNITED STATES DISTRICT COURT
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              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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     LONGINA PEREZ MONROY and                      Case No. 5:21-cv-01278-SVW-KK
  11 DAVID MONROY, individually and as             [The Hon. Stephen V. Wilson,
     successors in interest to the Deceased,       Magistrate Judge Kenly Kiya Kato]
  12 JEFFREY ALEXANDER MONROY,
  13
                       Plaintiffs,
  14                                               [PROPOSED] PROTECTIVE
       v.                                          ORDER RE CONFIDENTIAL
  15                                               DOCUMENTS
     COUNTY OF RIVERSIDE, a
  16 governmental entity; SHERIFF CHAD
     BIANCO, in his individual, and official       [NOTE CHANGES BY COURT]
  17 capacities; and DOES 1-10, inclusive,
  18                   Defendants.                Complaint Filed:             07/29/2021
                                                  Trial Date:                  Not Yet Set
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  21
  22         PURSUANT TO THE STIPULATION OF THE PARTIES (“Stipulation for
  23 Entry of Protective Order re Confidential Documents”), and pursuant to the Court’s
  24 inherent and statutory authority, including but not limited to the Court’s authority under
  25 the applicable Federal Rules of Civil Procedure and the United States District Court,
  26 Central District of California Local Rules; after due consideration of all of the relevant
  27 pleadings, papers, and records in this action; and upon such other evidence or argument
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   1 as was presented to the Court; Good Cause appearing therefor, and in furtherance of
   2 the interests of justice,
   3         IT IS HEREBY ORDERED that:
   4 1.      SCOPE OF PROTECTION.
   5         The protections conferred by the parties’ Stipulation and this Order cover not
   6 only Protected Material/Confidential Documents (as defined below), but also (1) any
   7 information copied or extracted from Protected Material; (2) all copies, excerpts,
   8 summaries, or compilations of Protected Material; and (3) any testimony,
   9 conversations, or presentations by Parties or their Counsel that might reveal Protected
  10 Material. However, the protections conferred by the parties’ Stipulation and this Order
  11 do not cover the following information: (a) any information that is in the public domain
  12 at the time of disclosure to a Receiving Party or becomes part of the public domain after
  13 its disclosure to a Receiving Party as a result of publication not involving a violation of
  14 this Order, including becoming part of the public record through trial or otherwise; and
  15 (b) any information known to the Receiving Party prior to the disclosure or obtained by
  16 the Receiving Party after the disclosure from a source who obtained the information
  17 lawfully and under no obligation of confidentiality to the Designating Party.
  18         Except to the extent specified herein (if any), any use of Protected Material at
  19 trial shall not be governed by this Order, but may be governed by a separate agreement
  20 or order.    The Definitions section of the parties' associated Stipulation (§ 2) is
  21 incorporated by reference herein.
  22         Any use of Protected Material at trial shall be governed by the Orders of the trial
  23 judge: this Stipulation and its associated Protective Order do(es) not govern the use of
  24 Protected Material at trial.
  25         Nothing in parties’ Stipulation or this Order shall be construed as binding upon
  26 the Court or its court personnel, who are subject only to the Court’s internal procedures
  27 regarding the handling of materials filed or lodged, including materials filed or lodged
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   1 under seal.
   2        A.       PURPOSES AND LIMITATIONS.
   3        Disclosure and discovery activity in this action are likely to involve production
   4 of confidential, proprietary, or private information for which special protection from
   5 public disclosure and from use for any purpose other than prosecuting or defending this
   6 litigation would be warranted.       Accordingly, the parties have stipulated to and
   7 petitioned the court to enter the following Order.
   8        The parties have acknowledged that this Order does not confer blanket
   9 protections on all disclosures or responses to discovery and that the protection it affords
  10 extends only to the specified information or items that are entitled to treatment as
  11 confidential.
  12        The parties further acknowledge, as set forth below, that this Order creates no
  13 entitlement to file confidential information under seal, except to the extent specified
  14 herein; Central District Local Rules 79-5.1 and 79-5.2 set(s) forth the procedures that
  15 must be followed and reflects the standards that will be applied when a party seeks
  16 permission from the Court to file material under seal.
  17        Nothing in the parties’ Stipulation or in this Order shall be construed as any
  18 entitlement for the parties to file any documents or materials under seal; nor shall the
  19 parties’ Stipulation or this Order be construed as any exemption from any of the
  20 requirements of Central District Local Rule 79-5. The parties are required to comply
  21 with the applicable Local Rules in their entirety. If the Court denies a party’s request
  22 for filing material under seal, that material may be filed in the public record unless
  23 otherwise instructed by the Court.
  24        Nothing in this Order shall be construed so as to require or mandate that any
  25 Party disclose or produce privileged information or records that could be designated as
  26 Confidential Documents/Protected Material hereunder.
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   1 2.     DURATION OF PROTECTION.
   2        Even after final disposition of this litigation, the confidentiality obligations
   3 imposed by this Order shall remain in effect until a Designating Party agrees otherwise
   4 in writing or a court order otherwise directs.
   5        Final disposition shall be deemed to be the later of (1) dismissal of all claims and
   6 defenses in this action, with or without prejudice; or (2) final judgment herein after the
   7 completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of this
   8 action, including the time limits for filing any motions or applications for extension of
   9 time pursuant to applicable law.
  10 3.     DESIGNATION           OF     PROTECTED           MATERIAL/CONFIDENTIAL
  11        DOCUMENTS.
  12        3.1.   Exercise of Restraint and Care in Designating Material for Protection.
  13        Each Party or non-party that designates information or items for protection under
  14 the parties’ Stipulation and this Order must take care to limit any such designation to
  15 specific material that qualifies under the appropriate standards. A Designating Party
  16 must take care to designate for protection only those parts of material, documents,
  17 items, or oral or written communications that qualify – so that other portions of the
  18 material, documents, items or communications for which protection is not warranted
  19 are not swept unjustifiably within the ambit of this Order.
  20        Mass, indiscriminate, or routine designations are prohibited. Designations that
  21 are shown to be clearly unjustified, or that have been made for an improper purpose
  22 (e.g., to unnecessarily encumber or inhibit the case development process, or to impose
  23 unnecessary expenses and burdens on other parties), expose the Designating Party to
  24 sanctions.
  25        If it comes to a Party’s or a non-party’s attention that information or items that it
  26 designated for protection do not qualify for protection at all, or do not qualify for the
  27 level of protection initially asserted, that Party or non-party must promptly notify all
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   1 other parties that it is withdrawing the mistaken designation.
   2        3.2.   Manner and Timing of Designations. Except as otherwise provided in this
   3 Order, or as otherwise stipulated or ordered, material that qualifies for protection under
   4 this Order must be clearly so designated before the material is disclosed or produced.
   5        Designation in conformity with this Order requires:
   6        (a)    for information in documentary form (apart from transcripts of depositions
   7 or other pretrial or trial proceedings, and regardless of whether produced in hardcopy
   8 or electronic form), that the Producing Party affix the legend “CONFIDENTIAL” to
   9 each page that contains Protected Material. If only a portion or portions of the material
  10 on a page qualifies for protection, the Producing Party also must clearly identify the
  11 protected portion(s) (e.g., by making appropriate markings in the margins) and must
  12 specify, for each portion that it is “CONFIDENTIAL.”             The placement of such
  13 “CONFIDENTIAL” stamp on such page(s) shall not obstruct the substance of the
  14 page’s (or pages’) text or content.
  15        A Party or non-party that makes original documents or materials available for
  16 inspection need not designate them for protection until after the Receiving Party has
  17 indicated which material it would like copied and produced. During the inspection and
  18 before the designation, all of the material made available for inspection shall be deemed
  19 “CONFIDENTIAL.” After the Receiving Party has identified the documents it wants
  20 copied and produced, the Producing Party must determine which documents, or
  21 portions thereof, qualify for protection under this Order. Then, before producing the
  22 specified documents, the Producing Party must affix the “CONFIDENTIAL” legend to
  23 each page that contains Protected Material. If only a portion or portions of the material
  24 on a page qualifies for protection, the Producing Party also must clearly identify the
  25 protected portion(s) (e.g., by making appropriate markings in the margins).
  26        (b)    for testimony given in deposition or in other pretrial or trial proceedings,
  27 that the Party or non-party offering or sponsoring the testimony identify on the record,
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   1 before the close of the deposition, hearing, or other proceeding, all protected testimony,
   2 and further specify any portions of the testimony that qualify as “CONFIDENTIAL.”
   3 When it is impractical to identify separately each portion of testimony that is entitled
   4 to protection, and when it appears that substantial portions of the testimony may qualify
   5 for protection, the Producing Party may invoke on the record (before the deposition or
   6 proceeding is concluded) a right to have up to twenty (20) days to identify the specific
   7 portions of the testimony as “CONFIDENTIAL.” Only             those    portions   of   the
   8 testimony that are appropriately designated as “CONFIDENTIAL” for protection
   9 within the 20 days shall be covered by the provisions of the parties’ Stipulation and this
  10 Protective Order.
  11 The court reporter must affix to each such page the legend “CONFIDENTIAL,” as
  12 instructed by the Producing Party.
  13         (c)    for information produced in some form other than documentary, and for
  14 any other tangible items (including but not limited to information produced on disc or
  15 electronic data storage device), that the Producing Party affix in a prominent place on
  16 the exterior of the container or containers in which the information or item is stored the
  17 legend “CONFIDENTIAL.” If only portions of the information or item warrant
  18 protection, the Producing Party, to the extent practicable, shall identify the protected
  19 portions, specifying the material as “CONFIDENTIAL.”
  20         3.3.   Inadvertent Failures to Designate. If timely corrected (preferably, though
  21 not necessarily, within 30 days of production or disclosure of such material), an
  22 inadvertent failure to designate qualified information or items as “CONFIDENTIAL”
  23 does not, standing alone, waive the Designating Party’s right to secure protection under
  24 the parties’ Stipulation and this Order for such material. If material is appropriately
  25 designated as “CONFIDENTIAL” after the material was initially produced, the
  26 Receiving Party, on timely notification of the designation, must make reasonable efforts
  27 to assure that the material is treated in accordance with the parties’ Stipulation and this
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   1 Order.
   2         3.4.   Alteration of Confidentiality Stamp Prohibited. A Receiving Party shall
   3 not alter, edit, or modify any Protected Material so as to conceal, obscure, or remove a
   4 “CONFIDENTIAL” stamp or legend thereon; nor shall a Receiving Party take any
   5 other action so as to make it appear that Protected Material is not subject to the terms
   6 and provisions of the parties’ Stipulation and this Order. However, nothing in this
   7 section shall be construed so as to prevent a Receiving Party from challenging a
   8 confidentiality designation subject to the provisions of section 4, infra.
   9 4.      CHALLENGING CONFIDENTIALITY DESIGNATIONS.
  10         4.1.   Timing of Challenges.        Any Party or non-party may challenge a
  11 designation of confidentiality at any time that is consistent with the Court's Scheduling
  12 Order. Unless a prompt challenge to a Designating Party’s confidentiality designation
  13 is necessary to avoid foreseeable substantial unfairness, unnecessary economic
  14 burdens, or a later significant disruption or delay of the litigation, a Party does not waive
  15 its right to challenge a confidentiality designation by electing not to mount a challenge
  16 promptly after the original designation is disclosed.
  17         4.2.   Meet and Confer. Prior to challenging a confidentiality designation, a
  18 Party shall initiate a dispute resolution process by providing written notice of each
  19 specific designation it is challenging, and describing the basis (and supporting authority
  20 or argument) for each challenge. To avoid ambiguity as to whether a challenge has been
  21 made, the written notice must recite that the challenge to confidentiality is being made
  22 in accordance with this Protective Order. The parties shall attempt to resolve each
  23 challenge in good faith and must begin the process by conferring directly (in voice to
  24 voice dialogue, either in person, telephonically, or by other comparable means, but not
  25 by correspondence) within 14 days of the date of service of notice.
  26         In conferring, the Party challenging the designation must explain the specific
  27 basis for its belief that the confidentiality designation was not proper and must give the
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   1 Designating Party an opportunity to review the designated material, to reconsider the
   2 circumstances, and, if no change in designation is offered, to explain the basis for the
   3 chosen designation. A Party may proceed to the next stage of the challenge process only
   4 if it has engaged in this meet and confer process first or establishes that the Designating
   5 Party is unwilling to participate in the meet and confer process in a timely manner.
   6         Frivolous challenges, and those challenges made for an improper purpose (e.g.,
   7 to harass or impose unnecessary expenses and burdens on other parties), may expose
   8 the Party making to challenge to sanctions.
   9         4.3.   Judicial Intervention.    If the Parties cannot resolve a confidentiality
  10 challenge without court intervention, the Party challenging the designation shall file
  11 and serve a motion to remove confidentiality (under the applicable rules for filing and
  12 service of discovery motions) within 14 days of the parties agreeing that the meet and
  13 confer process will not resolve their dispute, or by the first day of trial of this matter,
  14 whichever date is earlier unless the parties agree in writing to a longer time.
  15         The parties must comply with Central District Local Rules 37-1 and 37-2
  16 (including the joint stipulation re discovery dispute requirement) in any motion
  17 associated with this Protective Order.
  18         The Party wishing to challenge a designation may file a motion challenging a
  19 confidentiality designation at any time that is consistent with the Court’s Scheduling
  20 Order, if there is good cause for doing so, including a challenge to the designation of a
  21 deposition transcript or any portions thereof. Any motion brought pursuant to this
  22 provision must be accompanied by a competent declaration affirming that the movant
  23 has complied with the meet and confer requirements imposed by the preceding
  24 paragraph.
  25         The burden of persuasion in any such challenge proceeding shall be on the
  26 Designating Party, regardless of whether the Designating Party is the moving party or
  27 whether such Party sought or opposes judicial intervention. Frivolous challenges, and
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   1 those made for an improper purpose (e.g., to harass or impose unnecessary expenses
   2 and burdens on other parties) may expose the Challenging Party to sanctions. Unless
   3 the Designating Party has waived the confidentiality designation by failing to oppose a
   4 motion to remove confidentiality as described above, all parties shall continue to afford
   5 the material in question the level of protection to which it is entitled under the Producing
   6 Party’s designation until the court rules on the challenge.
   7         4.4.   Withdrawal of “CONFIDENTIAL” Designation. At its discretion, a
   8 Designating Party may remove Protected Material/Confidential Documents from some
   9 or all of the protections and provisions of the parties’ Stipulation and this Order at any
  10 time by any of the following methods:
  11         (a)    Express Written Withdrawal.        A Designating Party may withdraw a
  12 “CONFIDENTIAL” designation made to any specified Protected Material/Confidential
  13 Documents from some or all of the protections of the parties’ Stipulation and this Order
  14 by an express withdrawal in a writing signed by such Party (or such Party’s Counsel,
  15 but not including staff of such Counsel) that specifies and itemizes the Disclosure or
  16 Discovery Material previously designated as Protected Material/Confidential
  17 Documents that shall no longer be subject to all or some of the provisions of the parties’
  18 Stipulation and Order. Such express withdrawal shall be effective when transmitted or
  19 served upon the Receiving Party. If a Designating Party is withdrawing Protected
  20 Material from only some of the provisions/protections of the parties’ Stipulation and
  21 this Order, such Party must state which specific provisions are no longer to be enforced
  22 as to the specified material for which confidentiality protection hereunder is withdrawn.
  23 Otherwise, such withdrawal shall be construed as a withdrawal of such material from
  24 all of the protections/provisions of the parties’ Stipulation and this Order;
  25         (b)    Express Withdrawal on the Record. A Designating Party may withdraw a
  26 “CONFIDENTIAL” designation made to any specified Protected Material/
  27 Confidential Documents from all of the provisions/protections of the parties’
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    1 Stipulation and this Order by verbally consenting in court proceedings on the record to
    2 such withdrawal – provided that such withdrawal specifies the Disclosure or Discovery
    3 Material previously designated as Protected Material/Confidential Documents that
    4 shall no longer be subject to any of the provisions of the parties’ Stipulation and this
    5 Order. A Designating Party is not permitted to withdraw Protected Material from only
    6 some of the protections/ provisions of the parties’ Stipulation and this Order by this
    7 method;
    8         (c)    Implicit Withdrawal by Publication or Failure to Oppose Challenge. A
    9 Designating Party shall be construed to have withdrawn a “CONFIDENTIAL”
   10 designation made to any specified Protected Material/Confidential Documents from all
   11 of the provisions/protections of the parties’ Stipulation and this Order by either
   12 (1) making such Protected Material/Confidential Records part of the public record –
   13 including but not limited to attaching such as exhibits to any filing with the Court
   14 without moving, prior to such filing, for the Court to seal such records; or (2) failing to
   15 timely oppose a Challenging Party’s motion to remove a “CONFIDENTIAL”
   16 designation to specified Protected Material/Confidential Documents.
   17         Nothing in the parties’ Stipulation and this Order shall be construed so as to
   18 require any Party to file Protected Material/Confidential Documents under seal, unless
   19 expressly specified herein.
   20 5.      ACCESS TO AND USE OF PROTECTED MATERIAL.
   21         5.1.   Basic Principles. A Receiving Party may use Protected Material that is
   22 disclosed or produced by another Party or by a non-party in connection with this case
   23 only for preparing, prosecuting, defending, or attempting to settle this litigation – up to
   24 and including final disposition of the above-entitled action – and not for any other
   25 purpose, including any other litigation or dispute outside the scope of this action. Such
   26 Protected Material may be disclosed only to the categories of persons and under the
   27 conditions described in the parties’ Stipulation and this Order. When the above entitled
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    1 litigation has been terminated, a Receiving Party must comply with the provisions of
    2 section 9, below (FINAL DISPOSITION).
    3         Protected Material must be stored and maintained by a Receiving Party at a
    4 location and in a manner that ensures that access is limited to the persons authorized
    5 under the parties’ Stipulation and its Order.
    6         5.2.   Disclosure of “CONFIDENTIAL” Information or Items.                 Unless
    7 otherwise ordered by the Court or permitted in writing by the Designating Party, a
    8 Receiving Party may disclose any information or item designated "CONFIDENTIAL"
    9 only to:
   10         (a)    the Receiving Party’s Outside Counsel of record in this action, as well as
   11 employees of such Counsel to whom it is reasonably necessary to disclose the
   12 information for this litigation;
   13         (b)    the officers, directors, and employees (including House Counsel) of the
   14 Receiving Party to whom disclosure is reasonably necessary for this litigation – each
   15 of whom, by accepting receipt of such Protected Material, thereby agree to be bound
   16 by the parties’ Stipulation and this Order;
   17         (c)    Experts (as defined in the parties’ Stipulation) of the Receiving Party to
   18 whom disclosure is reasonably necessary for this litigation – each of whom, by
   19 accepting receipt of such Protected Material, thereby agree to be bound by the parties’
   20 Stipulation and this Order;
   21         (d)    court reporters, their staffs, and Professional Vendors to whom disclosure
   22 is reasonably necessary for this litigation – each of whom, by accepting receipt of such
   23 Protected Material, thereby agree to be bound by the parties’ Stipulation and this Order;
   24         (e)    during their depositions, witnesses in the action to whom disclosure is
   25 reasonably necessary – each of whom, by accepting receipt of such Protected Material,
   26 thereby agree to be bound by the parties’ Stipulation and this Order. Pages of
   27 transcribed deposition testimony or exhibits to depositions that reveal Protected
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    1 Material may not be disclosed to anyone except as permitted under the parties’
    2 Stipulation and this Protective Order;
    3         (f)    the author or custodian of a document containing the information that
    4 constitutes Protected Material, or other person who otherwise possessed or knew the
    5 information.
    6         5.3.   Notice of Confidentiality. Prior to producing or disclosing Protected
    7 Material/Confidential Documents to persons to whom the parties’ Stipulation and this
    8 Order permits disclosure or production (see section 5.2, supra), a Receiving Party shall
    9 provide a copy of this Order to such persons so as to put such persons on notice as to
   10 the restrictions imposed upon them herein: except that, for court reporters, Professional
   11 Vendors, and for witnesses being provided with Protected Material during a deposition,
   12 it shall be sufficient notice for Counsel to give the witness a verbal admonition (on the
   13 record, for witnesses) regarding the provisions of the parties’ Stipulation and this Order
   14 and such provisions’ applicability to specified Protected Material at issue.
   15         5.4.   Reservation of Rights. Nothing in the parties’ Stipulation and this Order
   16 shall be construed so as to require any Producing Party to designate any records or
   17 materials as “CONFIDENTIAL.” Nothing in the parties’ Stipulation or this Order shall
   18 be construed so as to prevent the admission of Protected Material into evidence at the
   19 trial of this action, or in any appellate proceedings for this action, solely on the basis
   20 that such Disclosure or Discovery Material has been designated as Protected
   21 Material/Confidential Documents. Notwithstanding the foregoing, nothing in the
   22 parties’ Stipulation or this Order shall be construed as a waiver of any privileges or of
   23 any rights to object to the use or admission into evidence of any Protected Material in
   24 any proceeding; nor shall anything herein be construed as a concession that any
   25 privileges asserted or objections made are valid or applicable.
   26         Nothing in the parties’ Stipulation or this Order shall be construed so as to
   27 prevent the Designating Party (or its Counsel or custodian of records) from having
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    1 access to and using Protected Material designated by that Party in the manner in which
    2 such persons or entities would typically use such materials in the normal course of their
    3 duties or profession – except that the waiver of confidentiality provisions shall apply
    4 (see section 4.4(c), supra).
    5         5.5.   Requirement to File Confidential Documents Under Seal. Confidential
    6 Documents must be submitted in all law and motion proceedings before the Court if
    7 done so under seal pursuant to Federal Rules of Civil Procedure 5.2 and 26 and/or
    8 United States District Court, Central District of California Local Rules 79-5.1 and 79-
    9 5.2 (as applicable) and pursuant to the provisions of the parties’ Stipulation and this
   10 Order. If any Receiving Party attaches any Confidential Documents to any pleading,
   11 motion, or other paper to be filed, lodged, or otherwise submitted to the Court, such
   12 Confidential Document(s) shall be filed/lodged under seal pursuant to Federal Rules of
   13 Civil Procedure 5.2 and 26 and/or United States District Court, Central District of
   14 California Local Rules 79-5.1 and 79-5.2 to the extent applicable.
   15         However, this paragraph (¶ 5.5) shall not be construed so as to prevent a
   16 Designating Party or counsel from submitting, filing, lodging, or publishing any
   17 document it has previously designated as a Confidential Document without compliance
   18 with this paragraph’s requirement to do so under seal (i.e., a producing-disclosing party
   19 or counsel may submit or publish its own Confidential Documents without being in
   20 violation of the terms of the parties’ Stipulation and this Protective Order).
   21         Furthermore, a Receiving Party shall be exempted from the requirements of this
   22 paragraph as to any specifically identified Confidential Document(s) where – prior to
   23 the submission or publication of the Confidential Document(s) at issue – the
   24 Designating Party of such specifically identified Confidential Document(s) has
   25 waived/withdrawn the protections of the parties’ Stipulation and this Order (pursuant
   26 to paragraph 4.4, supra).
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    1         A Receiving Party shall also be exempt from the sealing requirements of this
    2 paragraph (¶ 5.5) where the Confidential Documents/Protected Material at issue is/are
    3 not documents, records, or information regarding:
    4         (1)   private, personal information contained in peace officer personnel files
    5 (such as social security numbers, driver’s license numbers or comparable personal
    6 government identification numbers, residential addresses, compensation or pension or
    7 personal property information, credit card numbers or credit information, dates of birth,
    8 tax records and information, information related to the identity of an officer’s family
    9 members or co-residents, and comparable personal information about the officer or his
   10 family);
   11         (2)   any internal affairs or comparable investigation by any law enforcement
   12 agency into alleged officer misconduct; and/or
   13         (3)   the medical records or records of psychiatric or psychological treatment of
   14 any peace officer or party to this action.
   15         Nothing in this paragraph shall be construed to bind the Court or its authorized
   16 staff so as to limit or prevent the publication of any Confidential Documents to the jury
   17 or factfinder, at the time of trial of this matter, where the Court has deemed such
   18 Confidential Documents to be admissible into evidence.
   19         Nothing in the parties’ Stipulation or in this Order shall be construed as any
   20 entitlement for the parties to file any documents or materials under seal; nor shall the
   21 parties’ Stipulation or this Order be construed as any exemption from any of the
   22 requirements of Central District Local Rule 79-5. The parties are required to comply
   23 with the applicable Local Rules in their entirety. If the Court denies a party’s request
   24 for filing material under seal, that material may be filed in the public record unless
   25 otherwise instructed by the Court.
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    1 6.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
    2        IN OTHER LITIGATION.
    3        If a Party is served with a subpoena or a court order issued in other litigation that
    4 compels disclosure of any information or items in the Party's possession or control
    5 which had been designated in this action as “CONFIDENTIAL,” that Party must:
    6        (a) promptly notify in writing the Designating Party, preferably (though not
    7 necessarily) by facsimile or electronic mail. Such notification shall include a copy of
    8 the subpoena or court order at issue, if possible;
    9         (b) promptly notify in writing the party who caused the subpoena or order to
   10 issue in the other litigation that some or all of the material covered by the subpoena or
   11 order is subject to the parties’ Stipulation and this Protective Order. Such notification
   12 shall include a specific reference to the parties’ Stipulation and this Protective Order;
   13 and
   14         (c) cooperate with respect to all reasonable procedures sought to be pursued by
   15 all sides in any such situation, while adhering to the terms of the parties’ Stipulation
   16 and this Order.
   17         If the Designating Party timely seeks a protective order, the Party served with
   18 the subpoena or court order shall not produce any information designated in this action
   19 as “CONFIDENTIAL” before a determination by the court from which the subpoena
   20 or order issued, unless the Party has obtained the Designating Party’s permission. The
   21 Designating Party shall bear the burden and expense of seeking protection in that court
   22 of its confidential material – and nothing in these provisions should be construed as
   23 authorizing or encouraging a Receiving Party in this action to disobey a lawful directive
   24 from another court.
   25         The purpose of this section is to ensure that the affected Party has a meaningful
   26 opportunity to preserve its confidentiality interests in the court from which the
   27 subpoena or court order issued.
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    1 7.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL.
    2         7.1.   Unauthorized Disclosure of Protected Material.
    3         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
    4 Protected Material to any person or in any circumstance not authorized under the
    5 parties’ Stipulation and this Order, the Receiving Party must:
    6         (a) notify in writing the Designating Party of the unauthorized disclosures;
    7         (b) use its best efforts to retrieve all copies of the Protected Material;
    8         (c) inform the person or persons to whom unauthorized disclosures were made
    9 of all the terms of this Order; and
   10         (d) request that such person or persons consent to be bound by the Stipulation
   11 and this Order.
   12         7.2.   Inadvertent Production of Privileged or Otherwise Protected Material.
   13         When a Producing Party gives notice to Receiving Parties that certain
   14 inadvertently produced material is subject to a claim of privilege or other protection,
   15 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
   16 Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
   17 may be established in an e-discovery order that provides for production without prior
   18 privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
   19 parties reach an agreement on the effect of disclosure of a communication or
   20 information covered by the attorney-client privilege or work product protection, the
   21 parties may incorporate their agreement in the stipulated protective order submitted to
   22 the Court.
   23 8.      PUBLICATION OF PROTECTED MATERIAL PROHIBITED.
   24         8.1.   Filing of Protected Material.
   25         A Party that seeks to file under seal any Protected Material must comply with
   26 Civil Local Rule 79-5. Protected Material may only be filed under seal pursuant to a
   27 court order authorizing the sealing of the specific Protected Material at issue.
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    1        Nothing in the parties’ Stipulation or in this Order shall be construed as any
    2 entitlement for the parties to file any documents or materials under seal; nor shall the
    3 parties’ Stipulation or this Order be construed as any exemption from any of the
    4 requirements of Central District Local Rule 79-5. The parties are required to comply
    5 with the applicable Local Rules in their entirety. If the Court denies a party’s request
    6 for filing material under seal, that material may be filed in the public record unless
    7 otherwise instructed by the Court.
    8        8.2.   Public Dissemination of Protected Material.
    9        A Receiving Party shall not publish, release, post, or disseminate Protected
   10 Material to any persons except those specifically delineated and authorized by the
   11 parties’ Stipulation and this Order (see section 5, supra); nor shall a Receiving Party
   12 publish, release, leak, post, or disseminate Protected Material/Confidential Documents
   13 to any news media, member of the press, website, or public forum (except as permitted
   14 under this Order regarding filings with the Court in this action and under seal).
   15 9.     FINAL DISPOSITION.
   16        Unless otherwise ordered or agreed in writing by the Producing Party, within
   17 thirty (30) days after the final termination of this action (defined as the dismissal or
   18 entry of judgment by the above named Court, or if an appeal is filed, the disposition of
   19 the appeal), upon written request by the Producing Party, each Receiving Party must
   20 return all Protected Material to the Producing Party – whether retained by the Receiving
   21 Party or its Counsel, Experts, Professional Vendors, agents, or any non-party to whom
   22 the Receiving Party produced or shared such records or information. As used in this
   23 subdivision, “all Protected Material” includes all copies, abstracts, compilations,
   24 summaries or any other form of reproducing or capturing any of the Protected Material,
   25 regardless of the medium (hardcopy, electronic, or otherwise) in which such Protected
   26 Material is stored or retained.
   27        In the alternative, at the discretion of the Receiving Party, the Receiving Party
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    1 may destroy some or all of the Protected Material instead of returning it – unless such
    2 Protected Material is an original, in which case, the Receiving Party must obtain the
    3 Producing Party’s written consent before destroying such original Protected Material.
    4         Whether the Protected Material is returned or destroyed, the Receiving Party
    5 must submit a written certification to the Producing Party (and, if not the same person
    6 or entity, to the Designating Party) within thirty (30) days of the aforementioned written
    7 request by the Designating Party that specifically identifies (by category, where
    8 appropriate) all the Protected Material that was returned or destroyed and that affirms
    9 that the Receiving Party has not retained any copies, abstracts, compilations, summaries
   10 or other forms of reproducing or capturing any of the Protected material (in any
   11 medium, including but not limited to any hardcopy, electronic or digital copy, or
   12 otherwise).
   13         Notwithstanding this provision, Counsel are entitled to retain an archival copy of
   14 all pleadings, motion papers, transcripts, legal memoranda or other documents filed
   15 with the Court in this action, as well as any correspondence or attorney work product
   16 prepared by Counsel for the Receiving Party, even if such materials contain Protected
   17 Material; however, any such archival copies that contain or constitute Protected
   18 Material remain subject to this Protective Order as set forth in Section 2, above. This
   19 Court shall retain jurisdiction in the event that a Designating Party elects to seek
   20 enforcement of this Order, including sanctions for violation of the parties’ Stipulation
   21 and this Order.
   22 10.     MISCELLANEOUS.
   23         10.1. Right to Further Relief. Nothing in the parties’ Stipulation or this Order
   24 abridges the right of any person to seek its modification by the Court in the future.
   25         10.2. Right to Assert Other Objections. By stipulating to the entry of this
   26 Protective Order pursuant to the parties’ Stipulation, no Party waives any right it
   27 otherwise would have to object to disclosing or producing any information or item on
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    1 any ground not addressed in the parties’ Stipulation or this Order. Similarly, no Party
    2 waives any right to object on any ground to use in evidence any of the material covered
    3 by the parties’ Stipulation and this Protective Order.
    4        The provisions of the parties’ Stipulation and this Protective Order shall be in
    5 effect until further Order of the Court.
    6        IT IS SO ORDERED.
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    8 Dated: _November 10, 2021                  _____________________________________
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    9                                            UNITED STATES MAGISTRATE JUDGE
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